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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                 CASE NO.: 1:20-CV-_____________


 MADELINE CLODFELTER,

         Plaintiff,

         v.

 MIAMI DADE COUNTY,

       Defendant.
 ____________________________________/

                       COMPLAINT AND DEMAND FOR JURY TRIAL

                                            INTRODUCTION

         1.        Plaintiff, MADELINE CLODFELTER, brings this action pursuant to the Family

 and Medical Leave Act, as amended, 29 U.S.C. § 2601, et seq. ("the FMLA"), to recover from

 Defendant, MIAMI DADE COUNTY, for back pay, an equal amount as liquidated damages,

 other monetary damages, equitable relief, front pay, declaratory relief, and reasonable attorneys'

 fees and costs.

                                    JURISDICTION AND VENUE

         2.        This Court has jurisdiction over Plaintiff's claims pursuant to 28 U.S.C. §§ 1331

 and 1337, and 29 U.S.C. § 2617(a)(2).

         3.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) (1) and (2) because the

 Defendant resides in this judicial district and a substantial part of the events and omissions giving

 rise to the claims alleged herein arose in this district.
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                                            PARTIES

         4.     At all times relevant hereto, Plaintiff MADELINE CLODFELTER (“Plaintiff”)

 was an employee of Defendant MIAMI DADE COUNTY (“Defendant”).

         5.     Defendant is a political subdivision of the State of Florida and, hence, is an

 employer subject to the requirements of the FMLA pursuant to 29 U.S.C. § 2611(4)(A)(iii) and

 29 U.S.C. § 203(x).

         6.     From July 21, 1986 until the present, Plaintiff worked for Defendant in various

 capacities, most recently working at Defendant's Miami-Dade Fire Rescue Department.

         7.     At all times relevant hereto, Plaintiff was an employee entitled to leave under the

 FMLA, based on the fact that she was employed by her employer for at least 12 months and

 worked at least 1,250 hours during the relevant 12-month period prior to her seeking to exercise

 her rights to FMLA leave.

                                  FACTUAL ALLEGATIONS

         8.     In 2018, prior to taking FMLA Leave, Plaintiff was employed by Defendant as a

 Fire & Rescue Division Manager. Prior to this time, during her 33 years of service, Plaintiff had

 received periodic performance evaluations that were usually “outstanding”, although a few were

 “above satisfactory”. Plaintiff had not previously received a performance evaluation indicating

 that her performance “needs improvement.”

         9.     Shortly before April 1, 2018, Plaintiff requested, and was approved for,

 intermittent leave pursuant to the FMLA from Monday, April 9, 2018 through Friday, June 29,

 2018.




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          10.   Plaintiff completed her leave and made herself available for full-time work at her

 former position on the following workday after completion of her FMLA leave, Monday, July 2,

 2018.

          11.   On July 2, 2018, Plaintiff was informed that she was being demoted to the

 position of Special Project Administrator 1 in the Department of Transportation and Public

 Works.

          12.   Defendant failed to permit Plaintiff to reassume her existing position or an

 equivalent position.

                               COUNT I – FMLA RETALIATION

          13.   Plaintiff realleges Paragraphs 1 through 12 above.

          14.   Plaintiff requested to take leave, and exercised her right to take leave, from work

 as permitted under the FMLA.

          15.   Defendant retaliated against Plaintiff because Plaintiff requested and took

 advantage of her FMLA leave by, specifically, demoting Plaintiff, reducing her salary, and

 refusing to restore Plaintiff to her prior or equivalent position upon her return from leave.

          16.   At all times relevant hereto, Defendant acted with the intent to discriminate

 against Plaintiff, because Plaintiff exercised her right to take leave pursuant to the FMLA.

          17.   As a result of Defendant’s intentional, willful, and unlawful acts by

 discriminating against Plaintiff for exercising her rights pursuant to the FMLA, Plaintiff has

 suffered damages and incurred reasonable attorneys' fees and costs.

          18.   As a result of Defendant’s willful violation of the FMLA, Plaintiff is entitled to

 liquidated damages.




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         WHEREFORE, Plaintiff requests that judgment be entered against Defendant for all

 damages recoverable under the FMLA, in addition to all litigation expenses and costs, including

 attorneys’ fees and any other lawful and equitable relief this Court deems to be just and proper.

                                           COUNT II
                                      FLMA INTERFERENCE

         19.     Plaintiff realleges Paragraphs 1 through 12 above.

         20.     At all material times, Plaintiff was entitled to leave under the FMLA.

         21.     Upon return from FMLA leave, Defendant refused to permit Plaintiff to reassume her

 existing position or an equivalent position.

         22.     As a result of its refusal to return Plaintiff to her former or equivalent position,

 Defendant intentionally, willfully, and unlawfully interfered in Plaintiff’s exercise of her rights

 under the FMLA.

         23.     As a direct and proximate result of the Defendant’s unlawful treatment, Plaintiff

 suffered damages.

         24.     Plaintiff is entitled to an award of reasonable attorney's fees, expert fees, costs,

 and expenses related to this litigation under the FMLA.

         WHEREFORE, Plaintiff requests that judgment be entered against Defendant for all

 damages recoverable under the FMLA, in addition to all litigation expenses and costs, including

 attorneys’ fees and any other lawful and equitable relief this Court deems to be just and proper.

                                  JURY TRIAL DEMAND

         Plaintiff requests a trial by jury on all claims stated herein for which Florida law provides

 a right to trial by jury.




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 Dated: June 11, 2020.

                                           Respectfully submitted,


                                           s/ Mark J. Beutler
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